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MINUTE ENTRY
AFRICK, J.
June 5, 2019
JS-10 00:30

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                         CRIMINAL ACTION

VERSUS                                                                      No. 17-201

LILBEAR GEORGE, ET AL.                                                     SECTION I


                                        ORDER

         A status conference was held on this date, with counsel participating on behalf

of all parties. The Court and counsel discussed the pending motion 1 to record all

proceedings filed by defendants Lilbear George and Chukwudi Ofomata.

         As discussed during the conference,

         IT IS ORDERED that counsel for Lilbear George and Chukwudi Ofomata

shall advise the Court of their positions regarding the motion no later than JUNE

12, 2019.

         New Orleans, Louisiana, June 5, 2019.



                                         _______________________________________
                                                 LANCE M. AFRICK
                                         UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 329.
